Case 1:15-cr-00149-RM Document 192 Filed 08/28/15 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                             JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                   Date: August 28, 2015
Court Reporter: Tammy Hoffschildt                                 Interpreter: n/a
Probation Officer: n/a

CASE NO. 15-cr-00149-RM

Parties                                                           Counsel

UNITED STATES OF AMERICA,                                         Martha Ann Paluch

          Plaintiff,

v.

1. RAUL CARAVEO,                                                  Martin Stuart

          Defendant.


                                 COURTROOM MINUTES

CHANGE OF PLEA
COURT IN SESSION:       2:05 p.m.
Appearances of counsel. Defendant is present and in custody.

Defendant sworn and answers true name; Defendant is 43 years old.

EXHIBITS: Court Exhibit 1 - Plea Agreement; Court Exhibit 2 - Statement by Defendant
in Advance of Plea of Guilty.

Defendant waives reading of the Superseding Indictment.

Defendant advised of maximum penalties.

Defendant's right to trial by jury and other constitutional rights explained.

Defendant pleads GUILTY to Count 1 of the Superseding Indictment.

Court’s findings and conclusions.
Case 1:15-cr-00149-RM Document 192 Filed 08/28/15 USDC Colorado Page 2 of 2




Court accepts plea of guilty.

Court defers acceptance of the Plea Agreement until the time of sentencing.

ORDERED: Any pretrial motions still pending in this matter are DENIED as moot.

ORDERED: Sentencing is set for November 19, 2015, at 10:00 a.m.

ORDERED: Defendant is REMANDED to the custody of the U.S. Marshal.

COURT IN RECESS:            2:37 p.m.
Total in court time:        00:32
Hearing concluded
